     Case 2:11-cr-00088-LRS    ECF No. 61   filed 07/11/11   PageID.132 Page 1 of 1




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 4
                           UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,                )     No. CR-11–088-LRS-1
 7                                             )
                   Plaintiff,                  )     ORDER GRANTING MOTIONS
 8                                             )
      v.                                       )
 9                                             )
      EDWARD AUSTIN BALES,                     )
10                                             )
                   Defendant.                  )
11                                             )
                                               )
12                                             )

13         Pending before the court are Defendant Edward Austin Bales’s

14   Motion to Reconsider Conditions of Release and Motion to Expedite.

15   For good cause shown, Mr. Bale’s Motions (ECF No. 57, 58) are

16   GRANTED.

17         IT IS SO ORDERED.

18         DATED July 11, 2011.

19
20                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTIONS - 1
